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                     CERTIFICATE OF SERVICE

      I, Brad S. Karp, hereby certify that on the 13th day of April 2018, I

electronically transmitted a true and correct copy of the foregoing

documents, THE      NATIONAL        FOOTBALL        LEAGUE     AND NFL

PROPERTIES LLC’S MOTION FOR THE APPOINTMENT OF A

SPECIAL INVESTIGATOR and MEMORANDUM                       OF     LAW IN

SUPPORT OF THE NATIONAL FOOTBALL LEAGUE AND NFL

PROPERTIES LLC’S MOTION FOR THE APPOINTMENT OF A

SPECIAL INVESTIGATOR, to the Clerk of the Court using the CM/ECF

System for filing and transmittal of a Notice of Electronic Filing to all

attorneys of record who are ECF registrants.


Dated: April 13, 2018                 /s/ Brad S. Karp
                                      Brad S. Karp
